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                              EXHIBIT 1




                              EXHIBIT 1
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       OPPORTUNITY COMMISSION
  11
  12   [Additional Counsel Listed on Next Page]
  13
                                   UNITED STATES DISTRICT COURT
  14
                                  CENTRAL DISTRICT OF CALIFORNIA
  15
  16
        U.S. EQUAL EMPLOYMENT                      CASE NO. 2:21-CV-07682 DSF-JEM
  17    OPPORTUNITY COMMISSION,
                                                   [PROPOSED] CONSENT DECREE
  18                         Plaintiff,
  19            vs.
  20
        ACTIVISION BLIZZARD, INC.,
  21    BLIZZARD ENTERTAINMENT,
        INC., ACTIVISION PUBLISHING,
  22    INC., and KING.COM, INC.,
        inclusive,
  23
  24                         Defendants.

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  26
  27
  28

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        PUBLISHING, INC., and KING.COM, INC.
  15
  16
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   1
               Plaintiff U.S. Equal Employment Opportunity Commission (the “EEOC”)
   2
       and Activision Blizzard, Inc. (“Activision Blizzard”), Activision Publishing, Inc.
   3
       (“Activision Publishing”), Blizzard Entertainment, Inc. (“Blizzard”), and King.com,
   4
       Inc. (“King”) (collectively, and including their respective subsidiaries with
   5
       employees in the United States, “Defendants”), collectively referred to as “the
   6
       Parties,” hereby stipulate and agree to entry of this Consent Decree (the “Decree”)
   7
       to fully and finally resolve any allegations contained in the Complaint filed by the
   8
       EEOC in EEOC v. Activision Blizzard, Inc., et al., with Case No. 2:21-CV-07682
   9
       DSF-JEM (“Action”).
  10
       I.      RECITALS AND BACKGROUND
  11
               Plaintiff filed this Action in the United States District Court, Central District
  12
       of California, for violation of Title VII of the Civil Rights Act of 1964 (“Title
  13
       VII”); in EEOC v. Activision, et al., with Case No. 2:21-CV-07682 DSF-JEM (the
  14
       “Action”). The Action alleges that Defendants engaged in unlawful employment
  15
       practices by subjecting employees, individuals, or a group of individuals to sexual
  16
       harassment, pregnancy discrimination and/or related retaliation in violation of
  17
       Sections 703(a) and 704(a) of Title VII 2000e-2(a), 2000e-3(a).
  18
               Activision Publishing and its related subsidiaries and companies with
  19
       employees in the United States, Blizzard and its related subsidiaries and companies
  20
       with employees in the United States, and King and its related subsidiaries and
  21
       companies with employees in the United States, are wholly owned subsidiaries of
  22
       Activision Blizzard. Since 2016 and through the present, Activision Publishing,
  23
       Blizzard, and King maintained separate workforces in distinct office locations.
  24
       Blizzard also maintained human resources and personnel functions separate from
  25
       those of Activision Blizzard and Activision Publishing until August 2019. Prior to
  26
       his departure in late 2018, Blizzard’s Chief Executive Officer was co-founder
  27
       Michael Morhaime.
  28

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   1
               Defendants expressly deny that they subjected any individual or group of
   2
       individuals to sexual harassment, pregnancy discrimination and/or related
   3
       retaliation, deny all allegations of wrongdoing, liability, damages and entitlement to
   4
       other relief set forth in the Action whether arising under Title VII or analogous state
   5
       and local laws, deny any group or systemic discrimination or harassment, and deny
   6
       that any of their policies and procedures are inadequate. However, the Parties
   7
       recognize that through this Decree the Parties can avoid the expense, distraction and
   8
       possible litigation associated with such a dispute and thus the Parties wish to
   9
       resolve all issues through this Decree.
  10
       II.     PURPOSES AND SCOPE OF THE DECREE
  11
               In the interest of resolving this matter, the Parties have agreed that this
  12
       Action should be finally settled by entry of this Decree, and all claims, including
  13
       those arising out of any of the same factual predicates as those implicated by the
  14
       Action, will be fully and completely resolved by this Decree. This Decree shall be
  15
       binding on and enforceable against Defendants, as well as their parents,
  16
       subsidiaries, officers, directors, agents, successors, and assigns. The scope of this
  17
       Decree includes all United States operations and United States-based employees of
  18
       all Defendants, unless otherwise indicated.
  19
               The Parties have entered into this Decree for the following purposes:
  20
               A.      To provide appropriate monetary and injunctive relief;
  21
               B.      To ensure that Defendants’ employment practices comply with
  22
                       pertinent laws regarding sexual harassment, pregnancy discrimination
  23
                       and related retaliation throughout the Decree term;
  24
               C.      To ensure that Defendants maintain workplaces free of sexual
  25
                       harassment, pregnancy discrimination and related retaliation
  26
                       throughout the Decree term;
  27
  28

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   1
               D.      To ensure that Defendants take reasonable steps to prevent and correct
   2
                       sexual harassment, pregnancy discrimination and related retaliation
   3
                       throughout the Decree term;
   4
               E.      To review and update Defendants’ policies, practices, and procedures
   5
                       with respect to discrimination, harassment and related retaliation;
   6
               F.      To review and ensure effective training for Defendants’ employees,
   7
                       managers, supervisors, and human resources personnel with respect to
   8
                       the pertinent laws regarding gender discrimination, harassment and
   9
                       related retaliation throughout the Decree term;
  10
               G.      To ensure proper accountability and appropriate and effective handling
  11
                       of complaints of sexual harassment, pregnancy discrimination and
  12
                       related retaliation throughout the Decree term;
  13
               H.      To ensure appropriate review, record keeping, and reporting related to
  14
                       sexual harassment, pregnancy discrimination and related retaliation in
  15
                       Defendants’ workplaces throughout the Decree term; and
  16
               I.      To avoid the time, expense, and uncertainty of possible litigation and
  17
                       to address the findings made by the EEOC in its Letter of
  18
                       Determination.
  19
       III.    DEFINITIONS
  20
               A.      “Action” is U.S. Equal Employment Opportunity Commission v.
  21
                       Activision Blizzard, Inc., et al.; Case No. 2:21-CV-07682 DSF-JEM.
  22
               B.      “Plaintiff” is the U.S. Equal Employment Opportunity Commission.
  23
               C.      “Defendants” are Activision Blizzard, Inc., Activision Publishing, Inc.,
  24
                       Blizzard Entertainment, Inc., and King.com, Inc. including their
  25
                       respective subsidiaries with employees in the United States.
  26
               D.      “Potential Claimant” is an individual who was an employee at any of
  27
                       Defendants at any time since September 1, 2016.
  28

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   1
               E.      “Claimant” is a Potential Claimant who timely submits a Claim Form
   2
                       to the Claims Administrator.
   3
               F.      “Claims Administrator” is an independent company responsible for
   4
                       handling administration of the claims process in accordance with
   5
                       Section IX.B.1.
   6
               G.      “Claim Form” is the form developed by the EEOC in accordance with
   7
                       Section IX.B.4.c. to determine whether a Claimant will be designated
   8
                       as an Eligible Claimant.
   9
               H.      “Court” is the United States District Court for the Central District of
  10
                       California.
  11
               I.      “Cy Pres Fund” are those amounts not distributed from the Settlement
  12
                       Fund to Eligible Claimants.
  13
               J.      “Decree” is this Consent Decree.
  14
               K.       “Distribution List” is the list of Eligible Claimants and the amount to
  15
                       be paid to each.
  16
               L.      “EEO Consultant” is the third-party Equal Employment Opportunity
  17
                       Consultant agreed to by the Parties and prescribed in Section XII.A.
  18
               M.      “EEOC” is the United States Equal Employment Opportunity
  19
                       Commission.
  20
               N.      “Eligible Claimant” is a Claimant who, in the EEOC’s sole discretion,
  21
                       meets all of the following requirements: (i) was employed by
  22
                       Defendants at any time from September 1, 2016 to the Effective Date;
  23
                       and (ii) based on the EEOC’s assessment could assert a claim for
  24
                       sexual harassment, pregnancy discrimination, retaliation and/or
  25
                       constructive discharge by Defendants. Such Eligible Claimants will be
  26
                       eligible for monetary relief from the Settlement Fund, as determined
  27
                       by the EEOC.
  28

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   1
               O.      “Effective Date” is the date this Decree is entered by the Court.
   2
               P.      “List of Potential Claimants” is a list of each current and former
   3
                       employee who worked for any Defendant at its United States locations
   4
                       from September 1, 2016 to the Effective Date.
   5
               Q.      “Notice of Settlement” is the notice prepared by the EEOC to advise
   6
                       Potential Claimants of the fact and terms of the Decree, the required
   7
                       procedure, and the deadline to submit a Claim Form.
   8
               R.       “Settlement Fund” is the escrow account into which Defendants will
   9
                       cause to be deposited the sum of $18,000,000 for distribution in
  10
                       accordance with the terms of this Decree.
  11
               S.      “Title VII” is Title VII of the Civil Rights Act of 1964, 42 U.S.C.
  12
                       sections 2000e, et seq.
  13
       IV.     RELEASE OF CLAIMS
  14
               A.      The Parties agree that this Decree completely and finally resolves all
  15
                       allegations, issues, and claims raised by the EEOC against Defendants
  16
                       made in the Action, including Charge Number 480-2018-05212.
  17
               B.      Nothing in this Decree is, nor should be construed as, an admission of
  18
                       wrongdoing or liability by Defendants either in this proceeding or in
  19
                       any other proceeding.
  20
               C.      Nothing in this Decree constitutes, nor should be construed as
  21
                       constituting, the imposition of any penalty against Defendants.
  22
               D.      Nothing in this Decree will be construed to limit or reduce Defendants’
  23
                       obligation to comply fully with Title VII or any other federal
  24
                       employment statute.
  25
               E.      Nothing in this Decree shall be construed to preclude the EEOC from
  26
                       enforcing this Decree in the event that Defendants fail to perform the
  27
                       promises and representations contained herein.
  28

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   1
               F.      This Decree in no way affects the EEOC’s right to bring, process,
   2
                       investigate, or litigate charges that may be in existence or may later
   3
                       arise against Defendants other than claims brought in this Action.
   4
       V.      JURISDICTION
   5
               A.      The Court has complete jurisdiction over the Parties and the subject
   6
                       matter of this litigation. See 29 U.S.C. § 626(b). The Action asserts
   7
                       claims that, if proven, would authorize the Court in its discretion to
   8
                       grant the equitable relief set forth in this Decree. The terms and
   9
                       provisions of this Decree are fair, reasonable, and just. This Decree
  10
                       conforms to the Federal Rules of Civil Procedure and Title VII and is
  11
                       not in derogation of the rights or privileges of any person.
  12
               B.      The Court will retain jurisdiction of this Action during the duration of
  13
                       the Decree for the purposes of entering all orders, modifications,
  14
                       judgments, and decrees that may be necessary to implement the relief
  15
                       provided herein.
  16
               C.      Only the EEOC may enforce compliance with this Decree.
  17
       VI.     EFFECTIVE DATE AND DURATION OF DECREE
  18
               A.      The provisions and agreements contained herein are effective
  19
                       immediately upon the date which this Decree is entered by the Court
  20
                       (the Effective Date).
  21
               B.      Except as otherwise provided herein, this Decree will remain in effect
  22
                       for three (3) years after the Effective Date and will expire by its own
  23
                       terms at the end of the thirty-sixth (36th) month from the Effective
  24
                       Date without further action by the Court, the EEOC, or Defendants.
  25
       VII. MODIFICATION AND SEVERABILITY
  26
               A.      This Decree constitutes the complete understanding of the Parties with
  27
                       respect to the matters contained herein. No waiver, modification, or
  28

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    1
                        amendment of any provision of this Decree will be effective unless
    2
                        made in writing and signed by an authorized representative of each of
    3
                        the Parties.
    4
                B.      If one or more provisions of the Decree are rendered unlawful or
    5
                        unenforceable, the Parties will make good faith efforts to agree upon
    6
                        appropriate amendments in order to effectuate the purposes of the
    7
                        Decree. If any provision of the Decree is rendered unlawful or
    8
                        unenforceable, the remaining provisions will remain in full force and
    9
                        effect unless the purposes of the Decree cannot, despite the Parties’
   10
                        best efforts, be achieved.
   11
                C.      By mutual written agreement of the Parties, this Decree may be
   12
                        amended or modified in the interests of justice and fairness in order to
   13
                        effectuate the provisions herein.
   14
        VIII. COMPLIANCE AND DISPUTE RESOLUTION
   15
                A.      EEOC Review Regarding Compliance
   16
                Defendants agree that the EEOC can review compliance with this Decree.
   17
        The EEOC may request from the EEO Consultant a copy of any document received
   18
        or created by the EEO Consultant as a result of the EEO Consultant’s duties as
   19
        described in this Decree. The EEOC may request from the Internal EEO
   20
        Coordinator, as defined in Section XII.B., a copy of any document created by the
   21
        Internal EEO Coordinator as a result of the Internal EEO Coordinator’s duties as
   22
        described in this Decree. The EEOC may request from the Claims Administrator a
   23
        copy of any document received or created by the Claims Administrator as a result
   24
        of the Claims Administrator’s duties as described in this Decree. The EEOC may
   25
        request that Defendants permit the EEOC to interview employees, including those
   26
        selected by the EEOC, or inspect Defendants’ records provided, however, that
   27
        Defendants’ attorneys may be present during any interview of a member of
   28

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    1
        management or any person who possesses privileged information regarding the
    2
        topic of the interview. Defendants will comply with any such request to review,
    3
        interview, or inspect within thirty (30) days of the EEOC’s request, unless
    4
        otherwise agreed by the Parties.
    5
                B.      Non-Compliance
    6
                The Parties expressly agree that if Defendants have failed to comply with any
    7
        provision of this Decree, the EEOC may seek to enforce this Decree, seeking all
    8
        available relief, including an extension of the term of the Decree, the EEOC’s costs
    9
        and any attorneys’ fees incurred in securing compliance with the Decree, additional
   10
        monetary relief, additional injunctive relief, and/or any other relief the Court deems
   11
        appropriate.
   12
                Prior to initiating such action, the EEOC will notify Defendants and their
   13
        legal counsel of record, in writing, of the nature of the dispute. This notice shall
   14
        specify the particular provision(s) that the EEOC believes Defendants have violated
   15
        or breached. Defendants shall have sixty (60) days from receipt of such written
   16
        notice to attempt to resolve or cure the breach. The Parties may agree to extend this
   17
        period upon mutual consent. The Parties agree to cooperate with each other and use
   18
        their best efforts to resolve any dispute referenced in the EEOC notice.
   19
        IX.     MONETARY RELIEF AND CLAIMS ADMINISTRATION
   20
                A.      Establishing a Settlement Fund and General Provisions
   21
                        1.         Defendants will provide a total fund of $18,000,000 to be
   22
                                   available to Eligible Claimants to resolve this Action. Within
   23
                                   thirty (30) calendar days of the Effective Date, Defendants will
   24
                                   cause that sum to be deposited into the Settlement Fund and
   25
                                   provide the EEOC with written verification of that funding
   26
                                   within seven (7) calendar days of deposit.
   27
   28

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    1
                        2.         The Settlement Fund will be distributed to the Eligible
    2
                                   Claimants and, as applicable, to the Cy Pres Fund in accordance
    3
                                   with the terms of this Decree.
    4
                        3.         The EEOC has full and complete discretion under the terms of
    5
                                   this Decree to determine who is an Eligible Claimant meeting
    6
                                   the requirements of eligibility for payment and the amount and
    7
                                   characterization of such payments as income, wages or
    8
                                   otherwise, as hereinafter described in this Decree.
    9
                B.      Claims Administration
   10
                        1.         Claims Administrator Selection and Approval
   11
                Within thirty (30) calendar days of the Effective Date, Defendants will hire
   12
        and appoint a Claims Administrator, approved by the EEOC, to oversee the claims
   13
        process and payments to Eligible Claimants as directed by the EEOC. If the Claims
   14
        Administrator initially appointed by Defendants thereafter declines to serve or to
   15
        carry out its duties under this Decree, Defendants will have ten (10) business days
   16
        to notify the EEOC in writing of the need for a replacement Claims Administrator
   17
        and will provide the EEOC with the name of a new Claims Administrator for
   18
        approval by the EEOC. If the EEOC objects to the appointment of the new Claims
   19
        Administrator identified by Defendants, the Parties will meet and confer until they
   20
        reach mutual agreement on a replacement Claims Administrator. In the absence of
   21
        an agreement of the parties, the EEOC may appoint a Claims Administrator.
   22
                        2.         Responsibility for Claims Administrator’s Fees and Costs
   23
                Defendants will pay all costs associated with the selection and retention of
   24
        the Claims Administrator as well as the performance of the Claims Administrator’s
   25
        duties under this Decree.
   26
   27
   28

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    1                   3.         Claims Administrator’s Duties and Responsibilities
    2           The Claims Administrator will work with the EEOC and Defendants to carry
    3   out the terms of the Decree. The Claims Administrator will be responsible for:
    4   (a) establishing, within fifteen (15) calendar days of being appointed, an interest-
    5   bearing account to hold in trust the Settlement Fund and notifying the EEOC and
    6   Defendants when the account is established and ready for deposit of the Settlement
    7   Fund; (b) receiving and holding the Settlement Fund in trust, until distribution;
    8   (c) establishing an informational website accessible to the Parties and Potential
    9   Claimants; (d) establishing an email address, mobile phone number, and/or other
   10   digital means of contact accessible to Potential Claimants to submit questions and
   11   Claim Forms; (e) establishing a toll-free telephone number accessible to Potential
   12   Claimants; (f) responding to information requests from Potential Claimants;
   13   (g) sending notices and Claim Forms to Potential Claimants; (h) obtaining updated
   14   addresses for Potential Claimants and re-mailing returned notices; (i) receiving and
   15   processing Claim Forms as provided in the Decree; (j) communicating, receiving,
   16   and processing documents from and with Claimants and Eligible Claimants;
   17   (k) sending notices of ineligibility to those Claimants determined by the EEOC not
   18   to be Eligible Claimants; (l) issuing payments to Eligible Claimants in accordance
   19   with the final Distribution List provided by the EEOC; (m) calculating withholding
   20   and payroll taxes and issuing tax reporting forms to each Eligible Claimant who
   21   receives a settlement payment; (n) depositing the employer-share of payroll taxes
   22   with the appropriate taxing authorities; (o) filing tax returns and issuing IRS Form
   23   W-2’s and 1099’s with respect to the Settlement Fund; (p) communicating as
   24   necessary with the EEOC and Defendants; (q) tracking all necessary data regarding
   25   contact with Potential Claimants, Claimants, and Eligible Claimants; (r) reissuing
   26   checks where required in consultation with the EEOC; (s) final distribution of the
   27
   28

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    1
        Settlement Fund; and (t) final distribution of the Cy Pres Fund and the Diversity
    2
        and Inclusion Fund, if any.
    3
                        4.         Claims Process and Distribution of Settlement Fund
    4
                                   a.   Website, Email Address, and Toll-Free Telephone
    5                                   Number
    6
                Within thirty (30) calendar days after being retained, the Claims
    7
        Administrator will: (i) establish a website that will be accessible to the Parties and
    8
        Potential Claimants; (ii) establish an email address for purposes of communicating
    9
        with Potential Claimants by email; and (iii) establish a toll-free telephone number
   10
        that will be accessible to Potential Claimants. The website and/or email address
   11
        will be set up so that Potential Claimants may obtain and submit a Claim Form
   12
        electronically.
   13
                Information posted on the website and available on a recorded message on
   14
        the toll-free telephone number will be limited to the general information included in
   15
        the Notice of Settlement sent to Potential Claimants or updated information as to
   16
        status of the claim process (e.g., claim-filing deadline; projected distribution date
   17
        when known). The website will provide information regarding the Settlement Fund
   18
        and how to complete the Claim Form. The website shall include an embedded
   19
        Claim Form and the Claim Form shall also be available for download by Potential
   20
        Claimants. The website shall also explain how Potential Claimants can seek
   21
        assistance in completing the Claim Form.
   22
                                   b.   List of Potential Claimants
   23
                Within thirty (30) calendar days of the Effective Date, Defendants will
   24
        provide the Claims Administrator with a list of each current and former employee
   25
        who worked for any Defendant at its United States locations from September 1,
   26
        2016 to the Effective Date (“List of Potential Claimants”). For each individual on
   27
        the List of Potential Claimants, Defendants will provide the following information
   28

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    1
        from its records, to the extent known by Defendants: (a) full name, including all
    2
        known prior names or aliases; (b) last known address; (c) date of birth; (d) social
    3
        security number; (e) employee identification number, if any, and if different from
    4
        the employee’s Social Security Number; (f) last known telephone numbers; (g) last
    5
        known email addresses; (h) dates of employment at any of the Defendants by
    6
        employer to the extent possible; and (i) any relevant documents or information
    7
        related to the claims for the EEOC to consider.
    8
                                   c.   Notice of Settlement and Claim Form
    9
                After the Claims Administrator is retained, the EEOC will provide the
   10
        Claims Administrator with the following forms: (a) Notice of Settlement and
   11
        (b) Claim Form. The EEOC will afford Defendants an opportunity to provide input
   12
        on the Notice of Settlement and Claim Form, but EEOC will make the final
   13
        determination regarding the form and contents of these documents.
   14
                                   d.   Mailing Notice of Settlement, Claim Form, and
   15                                   Utilization of Media
   16
                 Upon receipt of the List of Potential Claimants from Defendants, the Claims
   17
        Administrator will first utilize available resources including a database search to
   18
        update email addresses and addresses. Using the updated addresses, the Claims
   19
        Administrator will mail via USPS Priority Mail and email the Notice of Settlement,
   20
        the Claim Form, and a return envelope addressed to the Claims Administrator to
   21
        each Potential Claimant not later than twenty-eight (28) calendar days after the
   22
        Claims Administrator receives the Notice of Settlement and Claim Form. The
   23
        Claims Administrator will provide to the EEOC a roster of the U.S. mail (sent via
   24
        USPS Priority Mail) and email transmissions no later than ten (10) calendar days
   25
        after they are completed.
   26
   27
   28

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    1                              e.   Return Mail Handling
    2           For each mailing to a Potential Claimant that is returned as undeliverable, the
    3   Claims Administrator will, within ten (10) calendar days: (1) research the Potential
    4   Claimant’s most-recent address, using best efforts and a database search to locate
    5   the Potential Claimant; and (2) (a) resend the Notice of Settlement, Claim Form,
    6   and cover letter to the new or different address via USPS Priority Mail if a new or
    7   different address is obtained, or (b) advise the EEOC of the efforts taken to locate
    8   the Potential Claimant if no new or different address is obtained. The Claims
    9   Administrator will make no more than two (2) attempts to locate a Potential
   10   Claimant whose mailing is returned as undeliverable and in no event will any re-
   11   mailing of the Notice of Settlement and Claim Form occur more than six (6)
   12   months later than the Effective Date unless the EEOC determines a re-mailing is
   13   needed to advance the interest of the terms of this Decree.
   14                              f.   Claim Filing Deadline
   15           Potential Claimants who believe they are entitled to an award from the
   16   Settlement Fund may submit a Claim Form. A Potential Claimant’s final Claim
   17   Form filing deadline will be the later of one hundred twenty (120) calendar days
   18   after the Notice of Settlement and the Claim Form are originally mailed to that
   19   Potential Claimant, or one hundred twenty (120) calendar days after the date the
   20   Notice of Settlement and the Claim Form are re-mailed to that Potential Claimant.
   21   Claim Forms postmarked or submitted electronically to the Claims Administrator
   22   within these periods will be considered timely. However, Claim Forms that are
   23   received after the aforementioned time periods may be considered by the EEOC at
   24   its sole discretion.
   25                              g.   Claim Form Evaluation
   26           The EEOC and Defendants will discuss the general criteria for scoring claims
   27   made through Claim Forms. The Claims Administrator will provide to the EEOC
   28

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    1
        electronically all of the Claim Forms and accompanying information submitted by
    2
        each Claimant for the EEOC’s use in assessing who is an Eligible Claimant. The
    3
        EEOC has sole discretion in determining the scoring criteria, eligibility, and
    4
        monetary relief amounts for each Claimant. In order to determine each Claimant’s
    5
        eligibility, the EEOC will review the information in the Claims Form and determine
    6
        if the individual: (i) was employed by any Defendant or any Defendant Entity from
    7
        September 1, 2016 to the Effective Date; (ii) based on the EEOC’s assessment,
    8
        could assert a claim for sexual harassment, pregnancy discrimination and/or related
    9
        retaliation or constructive discharge by Defendants; and (iii) experienced a harm.
   10
        Such Claimants may be eligible for monetary relief from the Settlement Fund, as
   11
        determined by the EEOC. The EEOC will also consider whether or not the
   12
        Claimant is precluded from seeking relief due to a prior settlement and/or judgment
   13
        and assess documents provided by Defendants to the Claims Administrator. The
   14
        Claims Administrator will work with the Defendants to secure relevant documents
   15
        including any prior releases signed by Eligible Claimants for the EEOC to consider
   16
        in its assessment. Defendants agree that the EEOC’s determination of these issues
   17
        is final.
   18
                The EEOC shall provide Defendants one or more lists of Eligible Claimants
   19
        including their names, current addresses, the amount to be paid to each, the
   20
        classification of such amounts to be paid, and any additional relevant identifying
   21
        information (“Distribution List”). The EEOC, based upon the claims process, will
   22
        submit subsequent Distribution Lists. The EEOC also will provide the Claims
   23
        Administrator with a Notice of Ineligibility for any Claimants whom the EEOC
   24
        determines are not eligible for payments from the Settlement Fund.
   25
                                   h.   Notices to Eligible Claimants
   26
                Upon receiving the Distribution List(s) from the EEOC, the Claims
   27
        Administrator will mail via USPS Priority Mail to each Eligible Claimant on the
   28

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    1
        EEOC’s approved Distribution List(s) a Notice of Eligibility and Claim Share
    2
        Amount, a release of claims form, and a return envelope addressed to the Claims
    3
        Administrator. All Eligible Claimants, shall be provided an opportunity to consult
    4
        an independent attorney to advise on the release of claims to which the EEOC is not
    5
        a party. Defendants shall pay for up to one hour of attorney consultation to advise
    6
        on the release of claims, at the rate of $450/hour, for each Eligible Claimant. The
    7
        EEOC shall provide a list of recommended plaintiff attorneys for an Eligible
    8
        Claimant to consult.
    9
                To each Claimant determined to be ineligible, the Claims Administrator will
   10
        mail a Notice of Ineligibility, and a return envelope addressed to the Claims
   11
        Administrator.
   12
                                   i.   Receiving Acceptance and Release
   13
                The Claims Administrator will receive, track, and hold all documents
   14
        submitted by mail, in person, or electronically, and will provide to the Parties
   15
        access to all documents related to the claims process.
   16
                                   j.   Unaccepted Eligible Claimants’ Shares
   17           If an Eligible Claimant (to whom the Claims Administrator has sent a Notice
   18   of Eligibility and Claim Share Amount) does not return the relevant documents as
   19   required by the Notice of Eligibility and Claim Share Amount, the Eligible
   20   Claimant may be deemed to have rejected the claim share. However, the EEOC
   21   may authorize the acceptance of late-submitted forms. Eligible Claimants’ shares
   22   deemed to be rejected under this subsection will be distributed to the Cy Pres Fund,
   23   as determined by the EEOC.
   24                              k.   Subsequent Distribution List(s)
   25           The EEOC may provide the Claims Administrator one or more subsequent
   26   Distribution Lists, detailing the remaining Eligible Claimants and the Claim Share
   27   Amount awarded to each. The Claims Administrator will provide the EEOC and
   28

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    1
        Defendants an accounting of the monies remaining from the Settlement Fund.
    2
        Defendants have no standing to challenge the EEOC’s distribution determinations,
    3
        which are entirely in the discretion of the EEOC.
    4
                The EEOC will provide a Final Distribution List to the Claims Administrator
    5
        factoring in at its discretion, input from Defendants, if any. The Claims
    6
        Administrator will notify Defendants of receipt of the Final Distribution List. Any
    7
        remaining amounts shall be distributed to the Cy Pres Fund, identified below.
    8
                                   l.   Deposit of Employer’s Portion of the Payroll Taxes
    9                                   and Final Distribution
   10           No later than ten (10) business days after Defendants receive notice from the
   11   Claims Administrator of receipt of a Distribution List, including the Final
   12   Distribution List, and also receives the amount of FICA and FUTA tax due and the
   13   employer-share of state and local payroll taxes due from the Claims Administrator,
   14   Defendants will deposit into the Settlement Fund for the Eligible Claimants the
   15   employer’s portion of the FICA and FUTA tax and the employer-share of state and
   16   local payroll taxes due on a rolling basis.
   17           Within ten (10) business days of receiving from or on behalf of Defendants
   18   the payment for the employer’s portion of the FICA and FUTA tax due and the
   19   employer-share of state and local payroll taxes due, and after receiving all required
   20   documents, the Claims Administrator will issue and mail checks via USPS Priority
   21   Mail to Eligible Claimants in accordance with this Decree.
   22                              m.   Returned and/or Uncashed Checks
   23           On a quarterly basis throughout the duration of this Decree, the Claims

   24   Administration shall provide the EEOC with a copy of each cancelled check

   25   electronically, and identify any check not negotiated and/or returned non-

   26   negotiated. The Claims Administrator will also notify the Parties on a quarterly

   27   basis of the remaining amount of Settlement Funds.

   28

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    1
                For any checks that are returned as undeliverable, the Claims Administrator
    2
        will attempt to find an updated address and will provide the EEOC with the name,
    3
        last known address, date of birth, and social security number of the Eligible
    4
        Claimant. If an updated address can be found, the check will be re-mailed via
    5
        USPS Priority Mail. If an Eligible Claimant fails to present his or her check after
    6
        ninety (90) calendar days of it being issued, the Claims Administrator will provide
    7
        the EEOC with the name, last known address and date of birth of the Eligible
    8
        Claimant, and the EEOC may make additional efforts to locate the Eligible
    9
        Claimant.
   10
                                   n.   Undistributed Excess Funds
   11
                 If any of the Settlement Fund remains undistributed after exhausting the
   12
        efforts to locate the Eligible Claimants as set forth above, the excess funds will be
   13
        distributed between (i) Cy Pres Fund for distribution to charitable organizations
   14
        whose mission involves advancing women in the video game and technology
   15
        industries or promoting awareness around sexual harassment and gender equality
   16
        issues and (ii) the Diversity and Inclusion Fund to be used by Defendants
   17
        exclusively for diversity, inclusion and equity efforts beyond the scope and terms of
   18
        this Decree. The allocation between the Cy Pres Fund and Diversity and Inclusion
   19
        Fund will be decided by Defendants but subject to approval by the EEOC.
   20
        EEOC’s approval will not be unreasonably withheld. Charitable organizations will
   21
        be selected by Defendants, subject to input by the EEOC. If any of the selected
   22
        entities cease to exist as of the time of the distribution, to another organization that
   23
        has received tax-exempt status under Internal Revenue Code § 501(c)(3) and whose
   24
        mission involves advancing women in the video game and technology industries or
   25
        promoting awareness around sexual harassment and gender equality issues.
   26
   27
   28

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    1                              o.   Tax Reporting Forms
    2           The EEOC has the sole discretion to characterize the monetary relief amount
    3   to each Eligible Claimant as wage or non-wage compensation. The Claims
    4   Administrator will issue a Form 1099 to each Eligible Claimant in the amount of
    5   his/her non-wage monetary relief. No tax withholdings shall be made. If the
    6   EEOC designates monetary relief as wages, the Claims Administrator shall issue an
    7   IRS Form W-2 to each applicable Eligible Claimant. As described above,
    8   Defendants shall pay the employer’s portion of all deductions required by law,
    9   including but not limited to FICA and FUTA taxes, which shall not be deducted
   10   from payment of the monetary settlement amount(s) to Eligible Claimants. The
   11   Defendants and/or the Claims Administrator shall make all appropriate reports to
   12   the Internal Revenue Service and other tax authorities.
   13                              p.   Notice of Checks Issued
   14           Within five (5) business days after mailing any payment to Eligible
   15   Claimants or any charity through the Cy Pres Fund, the Claims Administrator will
   16   submit a register or copy of the checks to Anna Y. Park, Regional Attorney, U.S.
   17   Equal Employment Opportunity Commission, 255 East Temple Street, 4th Floor,
   18   Los Angeles, California, 90012, and to counsel of record for Defendants.
   19                              q.   Report to Tax Authorities
   20           The Claims Administrator will make all appropriate reports to the Internal

   21   Revenue Service and other tax authorities.

   22                              r.   Cooperation

   23           The Parties will work together to ensure that the distribution, including

   24   reissuing checks should that be required, is effectively carried out under the Decree.

   25   X.      CLAIMANT-SPECIFIC INJUNCTIVE RELIEF

   26           Within thirty (30) days of the date that the EEOC notifies Defendants of the

   27   names on the Distribution Lists, Defendants agree to:

   28

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    1
                A.      Remove from the personnel files of each Eligible Claimant any
    2
                        references to the allegations related to sexual harassment, pregnancy
    3
                        discrimination, and/or related retaliation except to the extent that
    4
                        Defendants must keep records of the allegations or any Eligible
    5
                        Claimant’s involvement in this Charge in order to effectuate this
    6
                        Decree, in which case such records must be maintained separately
    7
                        from Eligible Claimants’ personnel files;
    8
                B.      Handle work inquiries/confirmation through its established third-party
    9
                        vendor neutral reference process. The Claims Administrator shall
   10
                        provide a notice to each person on the Distribution List(s) of the
   11
                        Defendants’ work verification number and website address that
   12
                        instructs persons to only use that resource for references;
   13
                C.      Reclassify the terminations of any Eligible Claimant to voluntary
   14
                        resignations if they have been identified by the EEOC as being
   15
                        subjected to retaliation (based on a list provided by the EEOC); and
   16
                D.      Ensure that the Eligible Claimants are not prohibited from re-
   17
                        employment with Defendants, other than for non-discriminatory and
   18
                        non-retaliatory reasons.
   19
        XI.     GENERAL INJUNCTIVE RELIEF
   20
                A.      Anti-Discrimination and Harassment
   21
                Defendants, their officers, agents, management (including all supervisory
   22
        employees), human resources personnel, successors, and assigns, or any of them,
   23
        are hereby enjoined from: (a) engaging in discrimination including harassment of
   24
        any person(s) on the basis of sex, including pregnancy; (b) engaging in any practice
   25
        that creates a hostile work environment on the basis of any employee’s sex; and/or
   26
        (c) creating, facilitating, or permitting a hostile work environment in violation of
   27
        Title VII on the basis of sex.
   28

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    1           B.      Anti-Retaliation
    2           Defendants, their officers, agents, management (including all supervisory
    3   employees), successors, assigns, and all those in active concert or participation with
    4   them, or any of them, are hereby enjoined from implementing or permitting any
    5   action, policy, or practice that subjects any current or former employee or applicant
    6   of Defendants to retaliation, because he or she has in the past, or during the duration
    7   of this Decree:
    8                   1.         Opposed any practice made unlawful under Title VII;
    9                   2.         Filed a charge of discrimination with the EEOC alleging such
   10                              practice;
   11                   3.         Testified or participated in any manner in an internal or external
   12                              investigation or proceeding relating to any claim of a violation
   13                              of Title VII;
   14                   4.         Been identified as an Eligible Claimant with respect to the
   15                              Action;
   16                   5.         Asserted any right under this Decree; or
   17                   6.         Sought and/or received any relief in accordance with this
   18                              Decree.
   19   XII. SPECIFIC INJUNCTIVE RELIEF
   20           A.      Equal Employment Opportunity Consultant
   21           Within thirty (30) days after the Effective Date, Defendants will retain a
   22   third-party EEO Consultant, approved by the EEOC, with demonstrated experience
   23   in the areas of preventing and combating gender discrimination, harassment, and
   24   related retaliation. The EEO Consultant shall have access to documents and
   25   employees and shall review Defendants’ compliance with the provisions of this
   26   Decree. Defendants agree to bear all costs associated with the selection and
   27   retention of the EEO Consultant and the costs associated with the performance of
   28   the EEO Consultant’s duties.

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    1
                The EEO Consultant’s duties shall include:
    2
                        1.         Conducting audits under Section XII.C., to identify any areas for
    3
                                   improvement in Defendants’ response to complaints of sexual
    4
                                   harassment, pregnancy discrimination and/or related retaliation
    5
                                   and to determine whether sexual harassment, pregnancy
    6
                                   discrimination and/or related retaliation exists at Defendants’
    7
                                   worksites;
    8
                        2.         Reviewing Defendants’ centralized tracking system or
    9
                                   Complaint Log, which includes complaints regarding sexual
   10
                                   harassment, pregnancy discrimination and/or related retaliation,
   11
                                   described in Section XII.E., to track and provide feedback and
   12
                                   oversight on Defendants’ practices for:
   13
                                   a. Documenting complaints received by Defendants regarding
   14
                                      alleged sexual harassment, pregnancy discrimination and/or
   15
                                      related retaliation, including the retention and maintenance of
   16
                                      relevant documents and records in order to ensure all
   17
                                      complaints are properly documented and tracked;
   18
                                   b. Investigation, resolution, and proper handling of all
   19
                                      complaints received by Defendants regarding alleged sexual
   20
                                      harassment, pregnancy discrimination and/or related
   21
                                      retaliation to ensure prompt and effective processes;
   22
                                   c. Evaluating whether complaints of sexual harassment,
   23
                                      pregnancy discrimination and/or related retaliation are
   24
                                      documented and properly and timely handled, whether they
   25
                                      are formal or informal complaints; and
   26
                                   d. Reviewing all disciplinary actions taken in response to
   27
                                      complaints of sexual harassment, pregnancy discrimination
   28

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    1
                                      and/or related retaliation to ensure that discipline is
    2
                                      consistent in preventing and correcting the conduct as
    3
                                      required under this Decree and Title VII.
    4
                        3.         Evaluating pregnancy discrimination complaints and providing
    5
                                   feedback on improving working conditions for pregnant women
    6
                                   or removing impediments that may exist for women due to
    7
                                   pregnancy.
    8
                        4.         Reviewing and providing feedback on Defendants’ policies and
    9
                                   procedures relating to discrimination, harassment, and related
   10
                                   retaliation to ensure they are effective and fully comply with
   11
                                   Title VII and all terms set forth in this Decree, as described in
   12
                                   Section XII.C.
   13
                        5.         Providing consultation on Defendants’ methods for
   14
                                   communicating to employees the numerous complaint
   15
                                   mechanisms in place;
   16
                        6.         Providing an independent assessment of Defendants’ trainings,
   17
                                   as described in Section XII.D for effectiveness, with a particular
   18
                                   focus on training of managers and human resources employees;
   19
                        7.         Assisting Defendants in the rollout of the enhanced mental
   20
                                   health services described in Section XII.G., including in
   21
                                   ensuring experienced and trained professionals are made
   22
                                   available to provide mental health services related to sexual
   23
                                   harassment, regardless of whether the harassment occurred
   24
                                   while the person was employed by any Defendants;
   25
                        8.         Providing feedback regarding the revision of Defendants’
   26
                                   performance evaluations as described in Section XII.F.;
   27
   28

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    1
                        9.         Preparing semi-annual reports and an exit report to the EEOC
    2
                                   regarding Defendants’ progress and compliance under this
    3
                                   Decree;
    4
                        10.        Ensuring that Defendants’ reports required by this Decree are
    5
                                   accurately compiled and timely submitted;
    6
                        11.        Ensuring the distribution of any documents as required by this
    7
                                   Decree; and
    8
                        12.        Otherwise ensuring Defendants’ compliance with this Decree.
    9
                B.      Internal EEO Coordinator
   10
                Within forty-five (45) days after the Effective Date, Defendants shall hire
   11
        and/or designate an Internal Equal Employment Opportunity Coordinator (“Internal
   12
        Coordinator”) to ensure Defendants’ compliance with this Decree and the
   13
        provisions of Title VII that prohibit sexual harassment, pregnancy discrimination,
   14
        and related retaliation. However, if the Coordinator is determined to be unable to
   15
        perform the role, Defendants shall have an additional thirty (30) days after the
   16
        original deadline to identify and retain an alternative Coordinator. The Coordinator
   17
        shall have demonstrated experience in the area of gender discrimination,
   18
        harassment, and related retaliation issues. If the Coordinator is unable or unwilling
   19
        to serve at any point during the duration of the Decree, Defendants shall propose a
   20
        new Coordinator subject to EEOC’s approval. Defendants shall bear all costs
   21
        associated with the selection and retention of the Coordinator and the performance
   22
        of the Coordinator’s duties.
   23
                The Internal Coordinator’s duties shall include:
   24
                        1.         Preparing the Complaint Log described in Section XII.E. for the
   25
                                   EEO Consultant’s consideration and review that includes:
   26
                                   a.    All complaints received by Defendants regarding alleged
   27
                                         sexual harassment, pregnancy discrimination and/or
   28

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    1
                                         related retaliation;
    2
                                   b.    Timeline and methods for investigating and resolution of
    3
                                         each complaint;
    4
                                   c.    Results of investigation and remedial action taken for
    5
                                         alleged sexual harassment, pregnancy discrimination
    6
                                         and/or related retaliation.
    7
                        2.         To the extent requested by the EEO Consultant, investigation-
    8
                                   related materials for any investigations that require further
    9
                                   review, as determined by the EEO Consultant.
   10
                        3.         Preparing materials for the EEO Consultant’s consideration and
   11
                                   review, including:
   12
                                   a.    Methods by which Defendants make complainants (and
   13
                                         others who are interviewed during an investigation) aware
   14
                                         of Defendants’ non-retaliation policy and confirmation of
   15
                                         Defendants having done so;
   16
                                   b.    Methods by which Defendants retain and maintain
   17
                                         relevant documents and records and confirmation of
   18
                                         Defendants having done so;
   19
                                   c.    Methods by which Defendants confirm with complainants
   20
                                         that they that have not been subjected to retaliation and
   21
                                         confirmation of Defendants having done so.
   22
   23
   24
   25
   26
   27
   28

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    1
                        4.         Assisting Defendants with implementing a performance
    2
                                   evaluation system, as defined in Section XII.F., that encourages
    3
                                   management personnel to report information regarding
    4
                                   discrimination, harassment and related retaliation, and assisting
    5
                                   Defendants with implementing mechanisms for bottom-up
    6
                                   feedback from employees to managers that encourages and
    7
                                   solicits feedback regarding diversity, inclusion, and equity, as
    8
                                   described in Section XII.F.
    9
                C.      Compliance Audits
   10
                        1.         Pending and Current Complaints
   11
                Ninety (90) days after the Effective Date, the Internal Coordinator will
   12
        provide to the EEO Consultant access to the Complaint Log and other requested
   13
        documents that lists all complaints of sexual harassment, pregnancy discrimination
   14
        and/or related retaliation pending (i.e., complaints not listed as resolved in
   15
        Defendants’ Complaint Log) as of thirty days (30) days after the Effective Date.
   16
        The EEO Consultant shall:
   17
                        a.         evaluate the adequacy of investigations conducted, including
   18
                                   witnesses interviewed, relevant evidence gathered and
   19
                                   considered, and sufficiency of the final determination based on
   20
                                   the available evidence;
   21
                        b.         evaluate the consistency of disciplinary measures taken in
   22
                                   response to complaints of sexual harassment, pregnancy
   23
                                   discrimination and/or related retaliation;
   24
                        c.         advise regarding the retroactive creation of documentation,
   25
                                   tracking, and related records of any complaints (formal or
   26
                                   informal) discovered while performing this audit, that were not
   27
   28

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    1
                                   previously documented or tracked during the time period in
    2
                                   question; and
    3
                        d.         recommend appropriate preventative steps to avoid reoccurrence
    4
                                   of the same or similar issues.
    5
                Defendants also agree that the EEO Consultant will have access to
    6
        documents necessary to fulfill his or her duties. The audit of pending complaints
    7
        shall be included in the EEO Consultant’s first report to the EEOC.
    8
                        2.         Audit of Identified Departments and/or Functions
    9
                If, through the audit of pending and current complaints there are departments
   10
        and/or functions that are discovered, considering the totality of the circumstances,
   11
        to have had repeated and/or widespread instances of sexual harassment, pregnancy
   12
        discrimination and/or related retaliation (“Identified Departments and Functions”),
   13
        the EEO Consultant shall recommend corrective measures and/or preventative steps
   14
        for any unresolved complaint in the Identified Departments and Functions. The
   15
        EEO Consultant shall identify appropriate corrective and preventative steps to
   16
        avoid reoccurrence of the same or similar issues in the Identified Departments and
   17
        Functions. Defendants may follow the EEO Consultant’s recommendation or
   18
        suggest a good faith alternative resolution.
   19
                        3.         Annual Audits
   20
                On an annual basis throughout the duration of this Decree, the EEO
   21
        Consultant shall conduct unannounced audits of current employees, that can occur
   22
        in person, to assess whether sexual harassment, pregnancy discrimination and/or
   23
        related retaliation issues are properly being addressed, whether the mechanisms
   24
        implemented pursuant to this Decree are effective, whether the trainings are
   25
        effective, and to identify areas to improve. When seeking employee input, the EEO
   26
        Consultant will meet employees outside the presence of management and/or
   27
   28

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    1
        supervisors, and without any management or supervisors’ advance knowledge of
    2
        the audit.
    3
                The EEO Consultant shall audit the effectiveness of the handling of
    4
        complaints of sexual harassment, pregnancy discrimination and/or related
    5
        retaliation to assess whether corrective and preventative measures that were taken
    6
        are effective. The EEO Consultant shall review complaints to ensure they are
    7
        properly documented and tracked. The EEO Consultant shall also audit the
    8
        disciplinary programs and provide feedback to Defendants process modifications to
    9
        enhance accountability and consistency.
   10
                The EEO Consultant will also review the complaints that are made including
   11
        the Complaint Log described in Section XII.E. and report on an annual basis
   12
        regarding Defendants’ tracking and handling of the complaints. The EEO
   13
        Consultant will assess whether complaints made are accurately recorded and
   14
        addressed. The EEO Consultant shall have access to all non-privileged records
   15
        including underlying investigations into complaints of sexual harassment,
   16
        pregnancy discrimination and/or related retaliation, and shall have access to
   17
        employees, if necessary, to conduct interviews with employees of the EEO
   18
        Consultant’s choosing.
   19
                If deemed necessary by the EEO Consultant, climate surveys may be
   20
        administered where through the audits, it is determined that additional information
   21
        is needed to determine whether there are ongoing issues of sexual harassment,
   22
        pregnancy discrimination and/or related retaliation.
   23
                        4.         Review of Workplace Policies and Procedures
   24
                Defendants created and maintain a centralized intranet location for their
   25
        existing policies and procedures, including those regarding discrimination,
   26
        harassment, and/or related retaliation (“Workplace Policies and Procedures”).
   27
        Defendants have submitted their Workplace Policies and Procedures to the EEOC,
   28

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    1
        which Defendants maintain are lawful. Defendants will work with the EEO
    2
        Consultant to review their existing Workplace Policies and Procedures, and revise
    3
        them, if necessary, to ensure that throughout the duration of this Decree they
    4
        include:
    5
                        a.         a strong and clear commitment to a workplace free of
    6
                                   discrimination, harassment, and/or related retaliation;
    7
                        b.         a clear and comprehensive description of discrimination,
    8
                                   harassment, and/or related retaliation, including a discussion of
    9
                                   the meaning of the phrase “hostile work environment” and
   10
                                   “retaliation” under Title VII and examples of prohibited conduct
   11
                                   and conduct which, if left unchecked, may rise to the level of
   12
                                   unlawful discrimination, harassment, or related retaliation;
   13
                        c.         a statement that Defendants shall hold all employees
   14
                                   accountable for engaging in conduct prohibited under applicable
   15
                                   laws regarding discrimination, harassment, and/or related
   16
                                   retaliation or this Decree, including but not limited to failing to
   17
                                   take prompt appropriate action to redress gender discrimination,
   18
                                   harassment, and/or related retaliation in the workplace, and a
   19
                                   description of the consequences for those that fail to adhere to
   20
                                   reporting procedures;
   21
                        d.         a statement that persons who complain about discrimination or
   22
                                   harassment they experienced or witnessed and persons who
   23
                                   provide information relating to such complaints will not be
   24
                                   subjected to retaliation;
   25
                        e.         a statement that employees placed at Defendants’ worksites by
   26
                                   staffing agencies can raise complaints to Defendants regarding
   27
                                   discrimination, harassment, and/or related retaliation by
   28

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    1
                                   Defendants’ employees and assurance that complaints of
    2
                                   discrimination, harassment, and/or related retaliation by
    3
                                   employees placed at Defendants’ worksite by staffing agencies
    4
                                   will not negatively impact such employees’ opportunities to be
    5
                                   considered and/or hired into other positions with Defendants;
    6
                        f.         a statement affirming that Defendants’ anti-harassment policies
    7
                                   apply to any gender-based harassment experienced by an
    8
                                   employee while performing his or her duties in a virtual gaming
    9
                                   environment;
   10
                        g.         a policy regarding alcohol consumption in the workplace and at
   11
                                   work-related and industry-related events that prohibits excessive
   12
                                   alcohol consumption, pressure to consume alcohol, and making
   13
                                   sexual advances or requests towards an employee under the
   14
                                   influence of alcohol, and explains that alcohol consumption will
   15
                                   not be considered an excuse or mitigating factor for behavior
   16
                                   that constitutes discrimination, harassment, and/or related
   17
                                   retaliation;
   18
                        h.         a policy regarding workplace relationships that, consistent with
   19
                                   applicable law, discourages and/or prohibits the formation of
   20
                                   sexual and romantic relationships between supervisors and/or
   21
                                   managers and any employees who report to them, directly or
   22
                                   indirectly, and requires the disclosure of other sexual and
   23
                                   romantic relationships between employees to Defendants so that
   24
                                   appropriate measures can be taken to avoid the existence or
   25
                                   appearance of sexual and/or romantic favoritism and quid pro
   26
                                   quo sexual harassment in the workplace;
   27
   28

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    1
                        i.         a statement that Defendants’ harassment policies protect
    2
                                   employees, including interns, against workplace harassment
    3
                                   committed by other employees and third parties;
    4
                        j.         an internal complaint procedure applying to the workplace and
    5
                                   all work-related events that provides all employees with
    6
                                   multiple reporting options for complaints of discrimination,
    7
                                   harassment, and/or related retaliation, as described in
    8
                                   Section XII.C.5.;
    9
                        k.         an explanation that the internal complaint procedure does not
   10
                                   replace the right of any employee to file a charge or complaint
   11
                                   of discrimination, harassment, and/or related retaliation under
   12
                                   any available municipal, state, or federal law, and that filing an
   13
                                   internal complaint does not relieve the complainant of meeting
   14
                                   any deadline for filing a charge of discrimination; the
   15
                                   procedures will provide contact information for EEOC and state
   16
                                   and local Fair Employment Practice (FEP) agencies; and
   17
                        l.         publication of the EEOC complaint line of (800) 669-4000.
   18
                Defendants agree to submit to the EEOC any revisions to their Workplace
   19
        Policies and Procedures concerning sexual harassment, pregnancy discrimination
   20
        and/or related retaliation at least fifteen (15) days prior to the proposed change.
   21
                        5.         Internal Complaint Investigation Procedure
   22
                Defendants have submitted information to the EEOC that they have initiated
   23
        campaigns to encourage employee reporting of discrimination, harassment, and
   24
        retaliation, ensured multiple reporting avenues for employee reporting, including
   25
        anonymous reporting, hired internal investigators, centralized complaint tracking
   26
        reporting and handling, established an employee relations department, and trained
   27
        human resources personnel regarding internal investigations. Defendants will work
   28

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    1
        with the EEO Consultant to review their internal complaint investigation procedure
    2
        to ensure effectiveness of the procedures and to revise it to ensure that it
    3
        incorporates the following elements:
    4
                        a.         A statement encouraging employees to ask questions, share
    5
                                   concerns, and provide information about potential
    6
                                   discrimination, harassment, and/or related retaliation to
    7
                                   Defendants, such as by (1) sharing information with the Human
    8
                                   Resources Department and/or Employee Relations Department,
    9
                                   or (2) participating candidly in investigations of potential
   10
                                   discrimination, harassment, or related retaliation;
   11
                        b.         A clearly described process for submitting complaints of
   12
                                   discrimination, harassment, and/or related retaliation that
   13
                                   includes multiple avenues for employees to lodge complaints of
   14
                                   discrimination, harassment, and/or related retaliation verbally or
   15
                                   in writing, including (a) a direct toll-free phone number and
   16
                                   email address for Defendants’ Human Resources Department;
   17
                                   (b) a telephone complaint Hotline that Defendants will track
   18
                                   (Section XII.I.); and (c) notifying any manager or Human
   19
                                   Resources representative;
   20
                        c.         A clearly described process for a prompt, thorough, and
   21
                                   impartial investigation of all complaints of discrimination,
   22
                                   harassment, or related retaliation by Defendants, including
   23
                                   (a) interviewing relevant witnesses, (b) review of relevant
   24
                                   evidence; and (c) creation of written investigative reports that
   25
                                   document all investigatory steps, any findings and conclusions,
   26
                                   and any actions taken, and including all complaints, notes of
   27
                                   interviews, and other relevant evidence;
   28

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    1
                        d.         An assurance that no complainant shall be required to confront
    2
                                   his or her alleged harasser and that the confidentiality of the
    3
                                   complaint, complainant, and investigation shall be maintained to
    4
                                   the fullest extent possible;
    5
                        e.         Tracking and collection of all complaints of discrimination,
    6
                                   harassment, and/or related retaliation in a Complaint Log;
    7
                        f.         Resolution of all complaints of discrimination, harassment,
    8
                                   and/or related retaliation by Defendants in a timely and effective
    9
                                   manner and communication with complainant of the outcome of
   10
                                   the investigation; and
   11
                        g.         A requirement that any employee in a manager, supervisory, or
   12
                                   Human Resources position document and report any and all
   13
                                   observations or complaints of potential discrimination,
   14
                                   harassment, or related retaliation to Defendants’ Human
   15
                                   Resources Department and/or Employee Relations Department
   16
                                   promptly and no later than within seventy two (72) hours, and
   17
                                   that failure to carry out this duty is grounds for disciplinary
   18
                                   action, up to and including immediate discharge.
   19
                Defendants represent that they have reorganized and reconstituted the Human
   20
        Resources functions enterprise wide. Defendants further represent that they are
   21
        increasing personnel and financial resources directed to investigating complaints of
   22
        discrimination, harassment, and retaliation. The EEO Consultant will provide
   23
        feedback on the effectiveness of the reorganization.
   24
                        6.         Distribution of Workplace Policies and Procedures
   25
                Defendants agree to disseminate their policies and procedures, including any
   26
        Workplace Policies and Procedures, upon hire and, during the term of the Decree,
   27
        to all employees via electronic mail at least on a semi-annual basis. Defendants
   28

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    1
        agree that new employees shall receive a copy of the Workplace Policies and
    2
        Procedures available on Defendants’ intranet upon hire. The EEO Consultant will
    3
        include in its report an annual confirmation of the various methods by which
    4
        Defendants make their policies and procedures available to their employees.
    5
                D.      Trainings
    6
                Defendants have submitted information to the EEOC that they have created,
    7
        provided, and consistently required employees to submit to various interactive
    8
        and/or live trainings, including compliance trainings, diversity and inclusion
    9
        training, unconscious bias training, and the prevention of workplace harassment,
   10
        discrimination, and retaliation.
   11
                        1.         Compliance Trainings
   12
                Defendants agree that they will require all supervisory employees to attend
   13
        an interactive and/or live Compliance Training lasting at least two (2) hours in
   14
        duration. Defendants will work with the EEO Consultant to review the trainings
   15
        and training materials to ensure that the trainings are effective. The trainings
   16
        should be evaluated to ensure that, at a minimum, they cover:
   17
                        a.         what constitutes unlawful gender discrimination, harassment,
   18
                                   and/or related retaliation;
   19
                        b.         employees’ and employers’ rights and responsibilities if they
   20
                                   experience, observe, or become aware of conduct that they
   21
                                   believe may be discriminatory, harassing, or retaliatory based on
   22
                                   gender, including the responsibility of managers and/or
   23
                                   supervisors to report such conduct to HR;
   24
                        c.         a component on bystander intervention, including examples of
   25
                                   how to effectively intervene as a bystander and an opportunity
   26
                                   to role-play or practice intervening in a harassment scenario and
   27
                                   other ways to prevent harassment;
   28

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    1
                        d.         a component on civility in the workplace, including respectful
    2
                                   workplace interactions and creating a culture of inclusion;
    3
                        e.         Defendants’ Workplace Policies and Procedures and the Internal
    4
                                   Complaint Procedure;
    5
                        f.         contact information for Human Resources, Employee Relations,
    6
                                   and the Hotline; and
    7
                        g.         A statement from a senior executive emphasizing that
    8
                                   harassment prevention, maintaining a respectful workplace, and
    9
                                   diversity are high priorities for Defendants and that Defendants
   10
                                   are committed to accountability and safety of their workforces.
   11
                Defendants agree to solicit anonymous course evaluation forms to be filled
   12
        out by attendees, with copies provided to the EEO Consultant, to examine the
   13
        effectiveness of the training. The EEO Consultant will review the anonymous
   14
        evaluation forms and make any appropriate recommendations for subsequent
   15
        trainings to ensure the trainings are effective.
   16
                        2.         HR/Investigation Trainings
   17
                All Human Resources (“HR”) employees (including Employee Relations
   18
        employees), and any other employees who are responsible for investigating
   19
        complaints of gender discrimination, harassment, and/or related retaliation shall
   20
        also attend a separate live and interactive HR Investigation Training of at least two
   21
        (2) hours duration that includes role playing and emphasizes accountability of
   22
        management and documenting and reporting complaints of gender discrimination,
   23
        harassment, and/or retaliation.
   24
                Defendants will work with the EEO Consultant to ensure the effectiveness of
   25
        these trainings, which shall include examples and interactive materials to properly
   26
        identify what constitutes gender discrimination, harassment, and/or related
   27
        retaliation and emphasize: (1) the affirmative obligation for managers and
   28

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    1
        supervisors to report and to take appropriate action; (2) the duty to promptly report
    2
        potential gender discrimination, harassment, and/or related retaliation; (3) the need
    3
        to thoroughly document harassment and discrimination complaint investigations,
    4
        including taking and retaining notes of interviews conducted for those investigating
    5
        complaints; (4) types of preventative and corrective measures and how to determine
    6
        whether the action proposed is reasonably calculated to prevent or end harassing
    7
        conduct; and (5) post-investigation procedures for evaluating the work environment
    8
        after receiving a complaint from an employee or third-party. The training shall also
    9
        encompass for those responsible for investigating complaints, how to properly
   10
        investigate complaints of gender discrimination, harassment and related retaliation
   11
        including the proper scope of the investigation.
   12
                Defendants represent the Employee Relations function was created to
   13
        centralize Human Resources functions to investigate and to report on complaints of
   14
        gender discrimination, harassment and related retaliation. The EEO Consultant will
   15
        provide feedback of the effectiveness of the training with Employee Relations.
   16
                        3.         Preventing Workplace Harassment Training
   17
                All non-supervisory, non-Human Resources employees shall be required to
   18
        attend an interactive and live Preventing Workplace Harassment Training lasting at
   19
        least one (1) hour in duration. The training under this section shall include:
   20
                        a.         A statement from a senior executive emphasizing that
   21
                                   harassment prevention, civility, and maintaining a respectful
   22
                                   workplace are high priorities for Defendants and that
   23
                                   Defendants are committed to accountability and safety of their
   24
                                   workforces;
   25
                        b.         A component on bystander intervention;
   26
                        c.         A component on civility in the workplace, including respectful
   27
                                   workplace interactions and creating a culture of inclusion;
   28

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    1
                        d.         Defendants’ Workplace Policies and Procedures and the Internal
    2
                                   Complaint Procedure;
    3
                        e.         Contact information for Human Resources, Employee Relations,
    4
                                   and the Hotline;
    5
                        f.         Ways to prevent harassment and bullying; and
    6
                        g.         Respect for diversity in the workplace.
    7
                        4.         All Trainings
    8
                All trainings described above in Section XII.D shall be mandatory for the
    9
        duration of this Decree. Defendants represent that they have created and enhanced
   10
        an array of training programs regarding non-discrimination, anti-harassment, anti-
   11
        retaliation and related subjects including implicit bias, bystander intervention,
   12
        equity and diversity, and inclusive leadership training. Defendants will work with
   13
        the EEO Consultant to maximize the effectiveness of the trainings and related
   14
        materials. All persons shall verify their attendance in writing or through an
   15
        electronic confirmation. Defendants shall maintain copies of training sign-in sheets
   16
        and/or electronic records demonstrating attendance for the duration of this Decree.
   17
                All trainings provided pursuant to this Decree shall be live (which includes
   18
        but is not limited to video conferencing) and interactive unless otherwise indicated.
   19
        Defendants agree to work with the EEO Consultant to develop the training
   20
        curriculum as it relates to sexual harassment, pregnancy discrimination and/or
   21
        related retaliation. Examples shall be given of prohibited conduct, tailored to
   22
        Defendants’ workplace. Defendants shall leave time for question and answer
   23
        periods at the conclusion of each training. All trainings and training materials shall
   24
        be provided in language(s) commonly understood by Defendants’ employees.
   25
                All training shall occur on an annual basis during the duration of this Decree.
   26
        When scheduling each training, Defendants shall also schedule an alternative
   27
        training session within thirty (30) days of the initial training that is either (a) live
   28

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    1
        and interactive; or (b) a video recording of the live training plus an interactive
    2
        component. Within thirty (30) days of the hire date of any employee hired after the
    3
        required training, Defendants shall provide an alternative training session that is
    4
        either (a) live and interactive; or (b) a video recording of the live training with an
    5
        interactive component. All employees will be paid their normal rate of pay during
    6
        the trainings.
    7
                Defendants shall give the EEOC and the EEO Consultant a minimum of
    8
        twenty (20) business days advance written notice of the date, time, and location of
    9
        each initial training provided pursuant to this Decree, not including the ongoing
   10
        trainings for new hires. An EEOC representative or the EEO Consultant may
   11
        attend any such training upon request by the EEOC or the EEO Consultant but will
   12
        not participate. The EEOC and the EEO Consultant may also review training
   13
        materials proposed and/or used upon request.
   14
                E.      Complaint Log
   15
                Defendants have implemented EthicsPoint as their centralized tracking
   16
        system for complaints, including those regarding sexual harassment, pregnancy
   17
        discrimination and/or related retaliation. During the term of this Decree, Defendants
   18
        will continue to use EthicsPoint or a similar centralized tracking system for
   19
        complaints regarding sexual harassment, pregnancy discrimination and/or related
   20
        retaliation and will generate reports from EthicsPoint or a similar centralized
   21
        tracking system related to such complaints (“Complaint Log”), which will be
   22
        shared with the EEO Consultant. EthicsPoint is and will remain searchable by
   23
        name of individual(s) and by location(s) of alleged misconduct. If necessary the
   24
        Complaint Log will be supplemented with information from other databases to
   25
        ensure that it contains, for each complaint or investigation of sexual harassment,
   26
        pregnancy discrimination and/or related retaliation, at least the following
   27
        information:
   28

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    1
                        1.         full name, contact information, and gender of each complainant
    2
                                   and potential aggrieved individual;
    3
                        2.         full name and gender of any persons allegedly involved
    4
                                   (including but not limited to those identified as potential
    5
                                   perpetrators);
    6
                        3.         a description of how Defendants learned of the complaint (i.e.,
    7
                                   whether made to a manager, human resources employee, or via
    8
                                   the Hotline), and the date the complaint was reported;
    9
                        4.         date each investigation began and was completed;
   10
                        5.         type of sexual harassment, pregnancy discrimination and/or
   11
                                   related retaliation complained of, reported, or investigated;
   12
                        6.         type of complaint or type of adverse employment action
   13
                                   allegedly involved (e.g., “harassment,” “failure to hire,” “failure
   14
                                   to promote,” “demotion,” “failure to schedule/assign,”
   15
                                   “termination,” etc.);
   16
                        7.         name and title of person(s) who conducted each investigation;
   17
                        8.         description of action taken in response to the charge, complaint,
   18
                                   report, or investigation;
   19
                        9.         resolution, or decision made, regarding each complaint made
   20
                                   and each investigation conducted; and
   21
                        10.        status of each complaint or investigation reflected in the
   22
                                   database (such as “open,” “pending,” “closed,” etc.).
   23
                The Complaint Log shall be maintained throughout the duration of the
   24
        Decree.
   25
                F.      Performance Evaluations
   26
                Defendants will work with the EEO Consultant to evaluate performance
   27
        evaluation forms for managers, supervisors, and human resource personnel, to
   28

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    1
        include measures for performance on compliance with Defendants’ anti-
    2
        discrimination, anti-harassment, and anti-retaliation policies and procedures.
    3
        Defendants represent that they are developing and implementing performance
    4
        evaluation changes. Within ninety (90) days of the appointment of the EEO
    5
        Consultant, Defendants agree to provide the EEO Consultant with the proposed
    6
        revisions of the performance evaluation forms in order to provide an opportunity
    7
        for comment regarding the revisions before implementing the revised performance
    8
        evaluation forms.
    9
                Defendants agree to consult with the EEO Consultant regarding their
   10
        implementation of mechanisms for bottom-up feedback and reporting, in order to
   11
        encourage and solicit feedback through these mechanisms regarding discrimination,
   12
        harassment, and/or related retaliation and the inclusivity of Defendants’ culture for
   13
        individuals of all genders. The EEO Consultant shall include a description of the
   14
        efforts being made by Defendants to obtain bottom-up feedback from employees in
   15
        each semi-annual report. Feedback received through these mechanisms, which
   16
        indicates that gender discrimination, harassment, and/or related retaliation may be
   17
        occurring, will be promptly and adequately addressed by Defendants.
   18
                G.      Mental Health Support
   19
                Within sixty (60) days of the Effective Date, Defendants shall work with the
   20
        EEO Consultant to make available expanded counseling for employees in need of
   21
        mental health or counseling services, reconfirming that they are available for
   22
        persons who may have experienced sexual harassment, pregnancy discrimination
   23
        and/or related retaliation, regardless of whether any experience occurred while the
   24
        person was employed by any Defendants. The counseling will be with qualified
   25
        providers with experience in providing mental health services related to sexual
   26
        harassment. Notice will be disseminated to the workforce of the availability of this
   27
        service, a copy of which will be provided to the EEOC in the first semi-annual
   28

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    1
        report and annually thereafter. All other records associated with this service will be
    2
        kept confidential and will not be disclosed as part of the record keeping and
    3
        reporting required under this Decree.
    4
                H.      Relationship with Staffing Agencies
    5
                Defendants will ensure that Defendants or the staffing agencies with which
    6
        they do business (“staffing agencies”) provide Defendants’ Workplace Policies and
    7
        Procedures compliant with Section XII.C.4 and 5. of this Decree, including the Ask
    8
        List, to all employees placed by staffing agencies to any of Defendants’ United
    9
        States worksites and, in no circumstance, more than five (5) days after their initial
   10
        assignment. As stated above in Section XII.C Defendants’ Workplace Policies and
   11
        Procedures shall state that: (i) employees placed at Defendants’ worksites by
   12
        staffing agencies can complain to Defendants regarding alleged sexual harassment,
   13
        pregnancy discrimination and/or related retaliation by Defendants’ employees; and
   14
        (ii) complaints of sexual harassment, pregnancy discrimination and/or related
   15
        retaliation will not negatively impact a staffing agency employee’s opportunity to
   16
        be considered and/or hired for another position. Defendants will work with the
   17
        EEO Consultant to develop and/or evaluate protocols to ensure that there are proper
   18
        mechanisms for handling complaints raised by workers placed at Defendants’
   19
        worksites by staffing agencies and to ensure that staffing agencies are informed of
   20
        complaints of sexual harassment, pregnancy discrimination and/or related
   21
        retaliation when raised by employees placed at Defendants’ worksites.
   22
                Defendants agree to require staffing agencies to provide Defendants semi-
   23
        annually during the duration of this Decree a statement attesting that employees
   24
        placed at Defendants’ worksites are timely receiving notice of Defendants’
   25
        Workplace Policies and Procedures compliant with Section XII.C. Copies of the
   26
        staffing agencies’ attestations will be provided to the EEO Consultant who, in turn,
   27
   28

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    1
        shall report on Defendants’ compliance with this obligation in its semi-annual
    2
        reports.
    3
                I.      Hotline
    4
                Defendants agree to confirm that they have currently in place a hotline for
    5
        employees and staffing agency workers to report complaints, including those of
    6
        sexual harassment, pregnancy discrimination and/or related retaliation (“Hotline”).
    7
        The Hotline shall operate seven (7) days per week, twenty-four (24) hours per day.
    8
        The Hotline shall offer the option to employees to make an anonymous complaint.
    9
        The EEO Consultant shall ensure that all Hotline inquiries and response times are
   10
        tracked and logged by Defendants in the Complaint Log described in Section XII.E.
   11
                Annually during the duration of this Decree, Defendants shall communicate
   12
        the Hotline information to all employees and workers to encourage reporting of
   13
        complaints of harassment, discrimination, and/or related retaliation. Defendants
   14
        shall notify new employees, including temporary employees, of the Hotline no later
   15
        than within five (5) days of hire.
   16
                J.      Record keeping
   17
                Within thirty (30) days of the appointment of the EEO Consultant,
   18
        Defendants will review with the EEO Consultant its record-keeping procedure that
   19
        provides for the centralized tracking of complaints, including those of sexual
   20
        harassment, pregnancy discrimination and/or related retaliation complaints and the
   21
        ongoing evaluation of such complaints to prevent retaliation. The EEO Consultant
   22
        will ensure and/or confirm that the records to be maintained include:
   23
                A.       documents generated in connection with any complaint of sexual
   24
                        harassment, pregnancy discrimination and/or related retaliation,
   25
                        including documents relating to all investigations or resolutions of any
   26
                        complaints and the identities of all witnesses identified by the
   27
                        complainant and/or through Defendants’ investigation;
   28

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    1
                B.      documents verifying the occurrence of all training sessions and names
    2
                        and positions of all attendees for each session as required under this
    3
                        Decree;
    4
                C.      documents generated in connection with the overseeing, counseling,
    5
                        and disciplining of employees whom Defendants determine to have
    6
                        engaged in behavior that violates the Company’s Policies and
    7
                        Procedures as they relate to sexual harassment, pregnancy
    8
                        discrimination and/or related retaliation;
    9
                D.      documents generated in connection with the establishment or review of
   10
                        performance evaluation measures for supervisors and managers,
   11
                        including if Defendants held managers accountable for not reporting
   12
                        complaints of sexual harassment, pregnancy discrimination and/or
   13
                        related retaliation, and also for rewarding those managers who did
   14
                        report correctly as part of its reporting process;
   15
                E.      all communications with the EEO Consultant, the Claims
   16
                        Administrator, and the EEOC;
   17
                F.      documents generated in connection with the audits conducted by the
   18
                        EEO Consultant under Section XII.C.;
   19
                G.      all training evaluation forms collected under Section XII.D and
   20
                H.      non-privileged documents related to Defendants’ compliance with this
   21
                        Decree.
   22
                Defendants shall make the aforementioned records available to the EEOC
   23
        within fifteen (15) business days following a written request by the EEOC.
   24
                In the event that the EEO Consultant raises concerns about potential non-
   25
        compliance with this Decree, the EEOC may request documents or information,
   26
        including interviews of witnesses, that the EEOC determines is necessary to
   27
        conduct an inquiry into the specific compliance issue. Defendants agree to make
   28

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    1
        the requested information or documents available to the EEO Consultant and the
    2
        EEOC. Defendants shall cooperate with the EEO Consultant to ensure access to
    3
        information to carry out their duties under this Decree.
    4
                K.      Reporting to the EEOC
    5
                        1.         Initial Report
    6
                Defendants shall submit to the EEOC an initial report within sixty (60) days
    7
        after the Effective Date containing:
    8
                        a.         the name, contact information, and qualifications of the EEO
    9
                                   Consultant pursuant to Section XII.A.;
   10
                        b.         the name and contact information of the specific professional
   11
                                   individual or organization that Defendants selected to serve as
   12
                                   the Claims Administrator and the contract pursuant to Section
   13
                                   IX.B.;
   14
                        c.         the List of Potential Claimants, as described in Section
   15
                                   IX.B.4.b.;
   16
                        d.         a statement detailing Defendants’ compliance with Section X
   17
                                   regarding Claimant Specific Injunctive Relief;
   18
                        e.         a summary of any forthcoming modifications to the Workplace
   19
                                   Policies and Procedures under Section XII.B.4., including the
   20
                                   Internal Complaint Investigation Procedure;
   21
                        f.         written verification of the funding of the Class Fund;
   22
                        g.         the notice provided to employees informing them of the
   23
                                   existence of the Mental Health Support in Section XII.G.;
   24
                        h.         a summary of the procedures and recordkeeping methods in
   25
                                   place and/or as modified with the EEO Consultant for
   26
                                   centralized tracking of sexual harassment, pregnancy
   27
   28

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    1
                                   discrimination and/or related retaliation complaints and the
    2
                                   evaluation of such complaints;
    3
                        i.         an update on Defendants’ progress toward revising their
    4
                                   performance evaluation forms, as described in Section XII.F.;
    5
                        j.         a statement attesting that all employees have been notified of the
    6
                                   Hotline, pursuant to Section XII.I.; and
    7
                        k.         a statement confirming that Defendants have secured a
    8
                                   commitment from the temporary agencies to obtain an
    9
                                   attestation that employees placed at Defendants’ worksites
   10
                                   timely receive their policies and procedures relating to sexual
   11
                                   harassment, pregnancy discrimination and/or related retaliation.
   12
                        2.         Semi-Annual Report
   13
                Within one-hundred and eighty (180) days from the Effective Date, and
   14
        semi-annually thereafter, Defendants shall provide reports containing:
   15
                        a.         The attendance lists of all attendees for the training sessions
   16
                                   required under this Decree that took place since the prior report;
   17
                        b.         Confirmation that Defendants have distributed Workplace
   18
                                   Policies and Procedures to all employees;
   19
                        c.         Confirmation of the occurrence of all training sessions pursuant
   20
                                   to Section XII.D. and a copy of the training materials used;
   21
                        d.         Confirmation that Defendants provided the EEO Consultant
   22
                                   with the Complaint Log;
   23
                        e.         Confirmation that Defendants provided the EEO Consultant a
   24
                                   summary of the results of any Climate Surveys undertaken as set
   25
                                   forth in Section XII.C;
   26
                        f.         Confirmation that the Hotline has been communicated to all
   27
                                   employees pursuant to Section XII.I.;
   28

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    1
                        g.         Confirmation that Defendants have secured statements from
    2
                                   their staffing agencies that employees placed at Defendants’
    3
                                   worksites by staffing agencies timely receive their policies and
    4
                                   procedures pursuant to Section XII.H.;
    5
                        h.         Confirmation as to whether any relevant revisions of
    6
                                   Defendants’ Workplace Policies and Procedures took place
    7
                                   since the preceding report, including a copy of the Workplace
    8
                                   Policies or Procedures, pursuant to Section XII.C.; and
    9
                        i.         Confirmation of Defendants’ compliance with the terms of this
   10
                                   Decree.
   11
                The Semi-Annual Report shall also include the EEO Consultant’s report to
   12
        the EEOC and Defendants that describes all work performed pursuant to this
   13
        Decree and provides the EEO Consultant’s feedback and recommendations going
   14
        forward. The report shall include the EEO Consultant’s evaluation and
   15
        recommendations following the audits; the trainings under Section XII.D.; status of
   16
        the mental health support and confirmation that the EEO Consultant has reviewed
   17
        the Complaint Log. Most importantly, the EEO Consultant’s report shall provide
   18
        feedback regarding Defendants’ good faith efforts to comply with this Decree and
   19
        all applicable laws regarding sexual harassment, pregnancy discrimination and/or
   20
        related retaliation. The EEO Consultant’s report shall cover all the EEO
   21
        Consultant’s responsibilities, as detailed in this Decree.
   22
                        3.         Exit Report
   23
                Defendants shall report to the EEOC at least ninety (90) days prior to the
   24
        expiration of this Decree regarding their compliance with this Decree. Separately,
   25
        the EEO Consultant shall report to the EEOC at least ninety (90) days prior to the
   26
        expiration of this Decree covering all the EEO Consultant’s responsibilities, as
   27
        detailed in Section XII.A. and providing feedback regarding Defendants’
   28

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    1
        compliance with this Decree and all applicable laws regarding sexual harassment,
    2
        pregnancy discrimination and/or related retaliation and whether Defendants have
    3
        responded appropriately to sexual harassment, pregnancy discrimination and/or
    4
        related retaliation complaints. The EEO Consultant shall make recommendations,
    5
        where appropriate, for extension of the term of this Decree. All reports under this
    6
        Section will be directed to: U.S. Equal Employment Opportunity Commission,
    7
        Attn. Regional Attorney Anna Y. Park, 255 E. Temple Street, 4th Floor, Los
    8
        Angeles, CA 90012.
    9
        XIII. COSTS OF ADMINISTRATION AND IMPLEMENTATION
   10         OF DECREE
   11
                Defendants will bear all costs associated with its administration and
   12
        implementation of its obligations under this Decree.
   13
        XIV. COSTS AND ATTORNEYS’ FEES
   14
                Each of the Parties shall bear its own costs and attorneys’ fees.
   15
        XV. MISCELLANEOUS PROVISIONS
   16
                Unless otherwise stated, all notices, reports, and correspondence required
   17
        under this Decree to be delivered to the EEOC shall be delivered (1) by U.S. Mail
   18
        to the attention of Anna Y. Park, Regional Attorney, U.S. Equal Employment
   19
        Opportunity Commission, 255 East Temple Street, 4th Floor, Los Angeles,
   20
        California, 90012; and (2) by email to lado.legal@eeoc.gov and
   21
        anna.park@eeoc.gov. All notices, reports and correspondence required under this
   22
        Decree to be delivered to Defendants shall be delivered (1) by U.S. Mail to the
   23
        attention of Elena Baca, Paul Hastings LLP, 515 S. Flower St, 25th Floor, Los
   24
        Angeles, California, 90071; and (2) by email to elenabaca@paulhastings.com,
   25
        feliciadavis@paulhastings.com, and ryanderry@paulhastings.com. Defendants
   26
        shall maintain copies of all such notices, reports, and correspondence for at least the
   27
        duration of this Decree.
   28

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    1
                During the duration of this Decree, Defendants shall provide any potential
    2
        successor-in-interest with a copy of this Decree within a reasonable time of not less
    3
        than thirty (30) days prior to the execution of any agreement for acquisition or
    4
        assumption of control of any or all of Defendants’ facilities, or any other material
    5
        change in corporate structure, and shall simultaneously inform the EEOC of same.
    6
                During the duration of this Decree, Defendants shall assure that each of its
    7
        directors, officers, human resources personnel, managers, and supervisors are aware
    8
        of any term(s) of this Decree which may be related to his/her job duties and/or
    9
        obligations.
   10
        XVI. SIGNATURES
   11
                This Decree may be executed in several counterparts, each of which shall be
   12
        deemed an original, but all of which shall constitute one and the same instrument.
   13
        All of such counterpart signature pages shall be read as though one, and they shall
   14
        have the same force and effect as though all the signers had signed a single
   15
        signature page. Electronically transmitted executed copies of this Decree shall be
   16
        fully binding and effective for all purposes whether or not originally executed
   17
        documents are transmitted to the other party. Fax signatures on documents are to
   18
        be treated the same as original signatures.
   19
   20
   21
   22
   23
   24
   25
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   27
   28

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    1
    2                                         ORDER

    3
        GOOD CAUSE APPEARING,
    4
    5           The provisions of the foregoing Consent Decree are fair and reasonable and
    6   advances the public interest. The terms are hereby approved and compliance with
    7   all provisions thereof is HEREBY ORDERED.
    8
    9
   10   IT IS SO ORDERED.
   11
   12
          Dated:                                     __________________________________
   13
   14                                                UNITED STATES DISTRICT
                                                     COURT JUDGE
   15
   16
   17
   18
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   28

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